Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 1 of 24




                             UN ITED STA TES DISTR ICT CO URT
                             SO UTH ERN D ISTRICT O F FLO RIDA
                                    casexo /? J,/ &<- G IV
                                            .
                                                                          tqlpp'/iss
                                                                                            D.
                                                                                             C.
                                                                   FILED BY
     FED ERAL TR AD E COM M ISSION ,
                                                                          MAt 1 2217
           Plaintiftl                                                      STEVEN M LABIM ORE
                                                                            CLERKU S.DI S'
                                                                                         ECT.
                                                                             SO i
                                                                                2)FF'LA..W PB


     STRATEG IC STU DENT SOLU TION S LLC,a
     lim ited liability com pany,STRATEGIC CRED IT
     SO LUTION S LLC,a lim ited liability com pany,   C O M PLA IN T FO R PERM AN ENT
     STM TEG IC DEBT SOLU TIO NS LLC ,a liinited      INJUN CTION A ND O TH ER
     liability com pany,STRATEG IC D OC PREP           EQUITABLE RELIEF
     SOLUTION S LLC,a lim ited liability com pany,
     STUDEN T RELIEF CEN TER LLC,a lim ited            (H LED UNDER SEAL)
     liability com pany,CRED IT RELIEF CEN TER
     LLC ,a lim iied liability com pany,and

     D AVE GREEN ,individually and asan officerof
     STRATEGIC STUDEN T SO LUTION S LLC,
     STR ATEG IC CREDIT SOLUTION S LLC,
     STM TEGIC DEBT SOLU TION S LLC,
     STR ATEGIC DOC PREP SOLU TION S LLC,
     STU DEN T RELIEF CEN TER LLC,and CREDIT
     RELIEF CENTER LLC,

           D efendants,and

     D G INV ESTM EN T PROPERTIES LLC,

           ReliefD efendant.


          Plaintiff,theFederalTradeComm ission (EtFTC''),foritsComplaintalleges:
           1.    TheFTC bringsthisactionunderSection 13(b)oftheFederalTradeCommission
    ActCCFTC Act''),15U.S.C.j53(b),theTelemarketingandConsumerFraudandAbuse
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 2 of 24




    PreventionActCE-lklemarketingAct''),15U.S.C.jj6101-6108,andSection410(b)ofthe
    CreditRepairOrganizationsAct,15U.S.C.jl679h(b),toobtaintemporary,preliminaly,and
    permanentinjtmctiverelief,rescissionorreformationofcontracts,restimtion,therefundof
    m oniespaid,disgorgem entofill-gotten m onies,and otherequitable reliefforD efendants'actsor

    practicesinviolationofSection5(a)oftheFTC Act,15U.S.C.j45(a),theFTC'S
    TelemarketingSalesRule(dtTSR''),16C.F.R.Pa14310,andtheCreditRepairOrganizationsAct
    ($$CROA''),15U.S.C.jj1679-1679j,inconnectionwiththeirdeceptivemarketingandsaleof
    studentloan debtreliefand creditrepairservices.

                                  JURISDICTION A ND V EN UE

                  ThisCourthassubjectmatterjurisdictionpursuantto28U.S.C.jj1331,1337(a),
    and1345,and 15U.S.C.jj45(a),53(b),6102(c),and 1679h(b).
                  Venueisproperinthisdistrictunder28U.S.C.j 1391(b)(1),(b)(2),(c)(1),(c)(2),
    and(d),and l5U.S.C.j53(b).
                                             PLAINTIFF

                  The FTC isan independentagency ofthe United StatesGovernm entcreated by

    statute.15U.S.C.jj41-58.TheFTC enforcesSection5(a)oftheFTC Act,15U.S.C.j45(a),
    w hich prohibitsunfairordeceptive actsorpracticesin oraffecting com m erce. The FTC also

    enforcestheTelemarketing Act,15U.S.C.jj 6101-6108.Pursuantto theTelemarketing Act,
    the FTC prom ulgated and enforcesthe TSR ,16 C .F.R .Part310,w hich prohibitsdeceptive and

    abusive telem arketing actsorpracticesin oraffecting com m erce. The FTC also enforcesthe

    CROA,15U.S.C.jj1679-1679j,whichprohibitsunfairordeceptiveadvertisingandbusiness
    practicesby creditrepairorganizations.
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 3 of 24




                  The FTC is authorized to initiate federaldistrictcourtproceedings,by its ow n

    attorneys,toenjoinviolationsoftheFTC Act,theTSR,andtheCROA,andtosecuresuch
    equitablereliefasm ay be appropriate in each case,including rescission orreform ation of

    contracts,restim tion,the reftm d ofm oniespaid,and the disgorgem entofill-gotten m onies.

    15U.S.C.jj53(b),56(a)(2)(A),6102(c),and 1679h(b).
                                           DEFENDA NTS

                  DefendantStrategicStudentSolutionsLLC (é1SSS'')isaFlorida limited liability
    com pany thathasheld itselfoutasdoing businessat8461Lake W orth Road,Suite 450,Lake

    W orth,Florida 33467;8142 Banpo Bridge W ay,Delray Beach,FL 33446;and 7260 W .A zure

    Drive #140,#2027,LasVegas,N V 89130. SSS transactsorhastransacted business in this

    districtand throughouttheU nited States. A ta11tim esm aterialto thisCom plaint,acting alone or

    in concertwith others,SSS hasadvertised,m arketed,distributed,orsold studentloan debtrelief

    senrices and/orcreditrepairservicesto consum ersthroughoutthe United States.

                  DefendantStrategicCreditSolutionsLLC (:VSCS'')isaFloridalimitedliability
    com pany thathasheld itselfoutasdoing businessat8461 Lake W orth Road,Suite 450,Lake

    W orth,Florida 33467;8142 Banpo Bridge W ay,Delray Beach,FL 33446;and 7260 W .M ure

    D rive#140,#2027,LasVegas,N V 89130. SCS transactsorhastransacted businessin this

    districtand throughoutthe United States. Ata11tim esm aterialto thisCom plaint,acting alone or

    in concertw ith others,SCS has advertised,m arketed,distributed,orsold studentloan debtrelief

    services and/orcreditrepairservicesto constlm ersthroughoutthe U nited States.

           8.     DefendantStrategicDebtSolutionsLLC (iiSDS'')isaFloridalimitedliability
    com pany thathasheld itselfoutasdoing businessat8461 LakeW orth Road,Suite 450,Lake
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 4 of 24




    W orth,Florida 33467;8142 Banpo Bridge W ay,D elray Beach,FL 33446;7260 W .Azure Drive

    #140,//2027,LasVegas,FL (sic)89130;and 1489W estPalmettoParkRoad,Suites467and
    495,Boca Raton,FL 33486. SD S transactsorhastransacted businessin thisdistrictand

    throughouttheU nited States. Ata1ltim esm aterialto thisCom plaint,acting aloneorin concert

    with others,SDS has advertised,m arketed,distributed,orsold debtreliefservices and/orcredit

    repairservicesto consum erstluoughoutthe United States.

                  DefendantStrategicDocPrepSolutionsLLC (IESDPS'')isaFloridalimited
    liability company thathasheld itselfoutas doing businessat8142 Banpo Bridge W ay,Delray

    Beach,FL 33446 and 7260 W .Azure Drive #140,#2027,Las Vegas,NV 89130. SD PS

    transactsorhastransacted businessin thisdistrictand throughoutthe United States. Atalltim es

    m aterialto thisComplaint,acting alone or in concertw ith others,SD PS hasadvertised,

    m arketed,distributed,orsold studentloan debtreliefservices and/orcreditrepairservicesto

    consum ersthroughoutthe United States.

           10.    DefendantStudentReliefCenterLLC (EESRC'')isaWyomingIimitedliability
    com pany thathasheld itselfoutas doing businessat7260 W .A zure D rive,Suite 140-212,

    LasV egas,N V 89130 and 1489 W estPalm etto Park Road,Suite 467,Boca Raton,FL 33486.

    SRC transactsorhastransacted businessin this districtand throughoutthe United States. Atal1

    tim esm aterialto this Com plaint,acting alone orin concertwith others,SRC hasadvertised,

    m arketed,distributed,orsold studentloan debtreliefservices and/orcreditrepairservicesto

    consum ers throughoutthe United States.

           11. DefendantCreditReliefCenter(::CRC'')isaWyomingIimitedliabilitycompany
    thathasheld itselfoutasdoing businessat7260 W .Azure Drive,Suite 140-212,Las Vegas,N V



                                                  4
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 5 of 24




    89130. CRC transactsorhastransacted businessin this districtand throughoutthe United

    States. Ata11tim esm aterialto thisComplaint,acting alone orin concertwith others,CRC has

    advertised,m arketed,distributed,or sold studentloan debtreliefservicesand/orcreditrepair

    servicesto consum ersthroughoutthe United States.

                  DefendantDave Green (tGGreen'')isthePresidentand solemanagerofSSS,SCS,
    SD S,SDPS,and theReliefDefendant. Green registered and paid forthe m aildrop listed asthe

    principalplace ofbusinessin the corporaterecordsofSRC and CRC. Green isthe sole signatory

    on thebank accounts,and the responsible party forthe w ebsites,ofa11corporate defendants. At

    al1tim esm aterialto this Com plaint,acting alone orin concertwith others,he hasform ulated,

    directed,controlled,had the authority to control,orparticipated in the actsand practicesofSSS,

    SCS,SDS,SD PS,SRC,and CRC,including the acts and practicessetforth in thisCom plaint.

    D efendantGreen residesin thisdistrictand,in connection w ith them attersalleged herein,

    transactsorhastransacted businessin thisdistrictand tluoughoutthe United States.

           l3. ReliefDefendantDG lnvestmentPropertiesLLC ('tDG lnvestmentProperties'')is
    a Florida lim ited liability com pany thathasheld itselfoutasdoing businessat8142 Banpo

    Bridge W ay,Delray Beach,FL 33446;7260 W .A zure Drive#140,#2027,Las Vegas,N V

    89130;and 1489 W estPalm etto Park Road,Suite 467,BocaRaton,FL 33486. lthasreceived at

    least$450,000in ftmdsthatcan betraceddirectlytoDefendants'deceptiveactsorpractices
    alleged below ,and ithasno legitim ate claim to those funds. DG lnvestm entPropertiesisowned

    by Green.

           l4.    DefendantsSSS,SCS,SDS,SDPS,SRC,andCRC (collectively,ikcolporate
    Defendants'')haveoperatedasacommonenterprisewhileengaginginthedeceptiveactsand
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 6 of 24




    practicesand otherviolationsoflaw alleged below . D efendantshave conducted thebusiness

    practices described below through an interrelated netw ork ofcom paniesthathave com m on

    ow nership,officers,m anagers,businessftm ctions,em ployees,and office locations,and thathave

    com m ingled funds. Forexam ple,since atleastFebrtzary of2017,telem arketershave begun

    answ ering the phone num berlisted on the SSS w ebsite w ith the nam e SRC. Because these

    ComorateDefendantshaveoperatedasacommonenterprise,eachofthem isjointlyand
    severally liable forthe acts and practicesalleged below . D efendantGreen hasform ulated,

    directed,controlled,had the authority to control,orparticipated in the actsand practicesofthe

    Corporate D efendantsthatconstitute the com m on enterprise.

                                            CO M M ER CE

           15.    A ta11tim esm aterialto this Com plaint,D efendants havem aintained a substantial

    course oftrade in oraffecting com m erce,askécom m erce''isdefined in Section 4 ofthe FTC Act,

    15 U.S.C.j44.
    DEFEN DAN TS'DECEPTIVE STU DENT LO A N DEBT R ELIEF A ND CREDIT R EPA IR
                                 OPEM TIO N

           16.    Since atleast2014,D efendantshave operated an unlaw fuldebtreliefenterprise

    thatpreyson consum ersw ith studentloan debtby falsely prom ising to reduce theirstudentloan

    paym entsorelim inate aportion oftheirdebtthrough enrollm entin studentloan forgiveness or

    incom e-dliven repaym entprogram s. Defendantsalso prom ise thatconsum ers'm onthly

    paym entsto D efendantswillbe applied to theirstudentloans. ln m any instances,however,

    consum ershave discovered thatD efendantshave failed to erlrollthem in any debtforgivenessor

    paym entreduction program sand haveotherwise failed to reduce theirpaym ents orelim inate

    theirdebt. Further,consum erslaterlearn thatnone oftheirm onthly paym entshavegone


                                                   6
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 7 of 24




    towardspaying offtheirdebt. lndeed,in som e instances,consum ershave ended up ow ing m ore

    on theirstudentloansthan when they firstsigned up forD efendants'program . Defendantshave

    also falsely prom ised m any consum ersthattheirloansw ould be forgiven in three years orless.

    And w hen consum ershave soughtto canceltheirparticipation in Defendants'program ,

    Defendantshave falsely told consum ersthatifthey do so,itw illbe vely difficultorim possible

    to enrollin anotherforgivenessprogram .

           17.     D efendantshavealso falsely represented thatthey provide creditrepairservices

    and im prove consumers'creditscores. Butin m any instances,Defendantsdo notprovide credit

    repairservicesand consum ers'creditscoresare notim proved by Defendants.

           l8.     ln exchange fortheprom ised debtreliefand creditrepair services,D efendants

    havecharged illegalupfrontfeesofasmuch as$1,200 andmonthly fees,typicallyof$49.99.

                 Background on StudentLoan Forgiveness and R epaym entProgram s

                   Studentloan debtisthe second largestclassofconsum erdebt;m ore than 42

    millionAmericanscollectively owenearly $1.3 trillion.Thestudentloan marketcontinuesto
    show elevated levelsofdistressrelativeto othertypesofconsum erdebt.

           20.     To addressthism ounting levelofdistressed debt,theU .S.D epartm entof

    Education (ED)and stategovernmentagenciesadministeralimitednumberofstudentloan
    forgivenessprogram s. M ostconsum ers,how ever,do notqualify forthese forgivenessprogram s

    because they have stricteligibility requirem ents,such asdem onstrating a tktotaland perm anent

    disability''(ED'sSt-l-otaland PennanentDisability Discharge'')ordemonstrating thatthe
    borrower'sschoolhasclosedwhiletheborrowerwasstillenrolled(tflosedSchoolLoan
    Discharge').Manyforgivenessprogramsrequireworkingincertainprofessionsforyears,such
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 8 of 24




    asED 's Ss-
              l-eacherLoan Forgiveness,''w hich appliesto teacherswho have worked full-tim efor

    five yearsin a low-incom e elem entary or secondary schooloreducationalservice agency.

           21.    The federalgovernm entalso offerspotentialstudentloan forgivenessas abenefk

    ofincome-driven repaymentCtlDR'')programs.Obtaining forgivenessthrough lDR programs
    requiresa m inim um of20 or25 yearsofpaym ents.N o loanshave been forgiven yettm derany

    ofthe1DR programs,manyofwhich,suchastheincome-basedrepayment(tûlBR'')program,
    have only been available relatively recently. lDR program sallow eligibleborrow ersto choose

    to lim ittheirm onthly paym entsbased on apercentage oftheirdiscretionary m onthly incom e. If

    any balance rem ainsafterm aking paym entsfor20 or25 years,thatam ountm ay be discharged.

    However,because m ostborrow ersw illrealize increased incom e overthe paym entperiod,

    m onthly paym entam ountsunderlDR program s m ay eventually increase to fully am ortizing

    paym entsthatwould pay offthe loanspriorto reaching eligibility forloan discharge. In those

    cases,the loanswould notbeforgiven.Further,any discharged debtwilllikely beconsidered as

    incom e fortax purposes,requiring tax paym ents on the am ountdischarged.

           22.    Consum erscan apply forforgivenessand lDR program sthrough theirstudent

    loan servicersatno cost;theseprogram sdo notrequire theassistance ofa third-party com pany

    orpaym entoffees.

           23.    Consum ers enrolled in 1D R orforgivenessplans can typically leave theirplans

    and reenrollin them ata laterdate.




                                                  8
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 9 of 24




              D efendants'D eceptive M arketing ofStudentLoan DebtR eliefServices

                   Defendantshaveprom ised to enrollconsum ersin studentloan forgivenessor

    otherprogram sto reducetheirstudentloan paym entsand balances. Defendantshave m adethis

    claim in online advertising and on telem arketing calls.

                   Forexam ple,one ofDefendants'websites,w ww .strategicsm dentsolution.com ,

    prom inently states the following:

                   StudentLoan ForgivenessProgram ForQualified Graduates.
                   LowerYourstudent Loan Paym ents Today!
                   1 Paym entStudentLoan Debt ReliefO ption.
           26.     The sam e websitealso offers:

                   Paymentsas Iow as $0 Monthly
                   O ne Iow m onthly paym ent
                   Save 60% or MORE on yourm onthly paym ent
                   Free no obligation consultation and debtanalysis
                   Qualify forstudentIoan forgiveness
                   Benefitfrom governm ent program s
                   In som e instances,consum ersview thew ebsite oronline advertising and call

    D efendants'telem arketersform ore information. In otherinstances,Defendantsm ake outbound

    telem arketing callsto consum ersto offertheir servicesand convince studentloan bolw wersto

    sign up w ith the com pany.

                   Defendants'telem arketershave told consum ersthatD efendantswould enroll

    them in studentloan forgivenessprogram sorotherprogram sto reduce theirm onthly paym ents

    orloan balances,and atthe end ofthe program s,theirstudentloanswould be forgiven.

    D efendantshave som etim esfollowed up theirtelem arketing callsw ith em ails. Forexam ple,one

    ofD efendants'follow up em ailsto a prospective custom erstated thatDefendantstdw illgetyou


                                                    9
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 10 of 24




     preapproved forFederalGovem m entProgram sthatwillforgive orelim inate yourFederal

     studentloan ....w e are a forgivenessprogram thatw illensure forgiveness.''

                   Defendantshave stated thattheirservicesrequire an initialfee,typically ranging

     from $599 to $1200,and thatmonthlypayments,typically $49.99,wouldbe appliedtoward
     consum ers'loans. Defendants'telem arketersoften told consum ersthatafterthey m ade m onthly

     paym entsfortlzree years,their loanswould be forgiven.

            30.    Contrary to Defendants'representations,consum ers'm onthly paym entsto

     Defendantsare notapplied to theirstudentloans;rather,they are keptas feesforD efendants'

     services. Further,barling rare instancesofdisability orclosed schools,there areno studentloan

     forgivenessprogram sthatprovide forgivenessin tllreeyeaysorless. D efendants,therefore,

     generally could nothave obtained loan forgivenessforconsum ers in thistim e fram e.

            31.    Defendants'telem arketers have typically collected consum ers'paym ent

     inform ation on the initialphonecall. Defendantshave withdrawn paym entsbefore they

     perform ed work on consum ers'loan accounts.

            32.    In many instances,Defendants'telem arketershave e-m ailed consum ersa link to a

     contractto sign electronically. Defendants'telem arketershave typically pressured consum ers

     into quickly electronically signing the contractwhile thetelem arketerisstillon thephone.

     Defendants'telemarketershave assured consum ersthatthe contractsimply reiterates theoffer

     forreduced paym ents and forgiveness. lndeed,thelanguage on the very firstpage reinforces

     D efendants'earlierprom isesto provide debtrelief. lttypically statesthatconsum ersw ill

     receiveçiexpertassistance''toidgoqbtainacompletedischargeofyoursmdentloan;ifpossible,
     obtainarefundofpaymentsyouhaveonyourloan,ifappropriateg,
                                                            'j(nlegotiateanacceptable


                                                    10
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 11 of 24




     settlem entw ith yourlender,and orestablish a com fortable paym entplan thatw illm eetyour

     needsg.j''
            33.    Buried in the contractthatconsum ersare nzshed tluough,which istypically 16 to

     20 pages,thereisoften a chartcontaining fee and paym entinfonnation. ln som e instances,the

     chartlistsSlM onthly M aint.Fee,Yearlyrenewals& CreditrepairFees''of$49.99 andan dsEst.

     Totalnew M onthly Payment''ofeither$0 or$49.99,creatingtheimpression thateither
     consumers'new studentloanpaymentis$0,orthatthe$49.99 monthlypaymentisbeingapplied
     to consum ers'studentloansastheirél-
                                        lbtal''m onthly paym entforDefendants'servicesand the

     studentloans. A dding to the confusion,the contracttypically statesthatthe upfrontttfiling''fees

     are IEN OT applied to clientsFederalStudentLoan balance,''butitdoesnotm akethe sam e

     statem entaboutconsum ers'm onthly paym ents. ln som e instances,the contractalso contains

     incongruousdisclaim erscontradicting the salespitch. They state,1tlunderstand thatStrategic

     StudentSolutionswillnotbe m aking m onthly paym entson m y behalf'and $tIunderstand that

     thefeespaidtoStrategicStudentSolutionsis(siclforDocumentpreparationandconsultation
     services only and w illnotbe applied to m y studentIoan balance.'' ln the instancesw herethese

     appear,they are on the very lastpage.

            34.    ln m any instances,Defendantshave instm cted consum ersnotto contact,w ork

     with,makepaymentsto,orrespondtocontactsfrom theirloanservicers.lnstead,Deikndants'
     representativeshave told consum ersto send any papenvork orbillsthey received from theirloan

     serd cersto D efendants,and thatD efendantsw ould handleit.

            35.    ln m any instances,Defendantshave failed to obtain theprom ised low erm onthly

     paym entsorstudentloan forgiveness. ln m any instances,consum ershavediscovered that



                                                   11
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 12 of 24




     Defendantshad notcontacted their loan serdcers atall. ln otherinstances,D efendantshave

     contacted consum ers'loan servicers,butonly to place consum ers'loans into forbearance. This

     simply delayed consum ers'discovery thattheirstudentloanswere notbeing paid and thatthey

     had notbeen enrolled in a forgiveness orincom e-driven repaym entprogram ,while Defendants

     continued to collectfees.A s aresult,m any consum ershave fallen behind on theirstudentloan

     paym entsorhave had additionalinterestaccrue.

            36.    ln som e instances,when consum ershave contacted D efendantsto canceltheir

     enrollm entin Defendants'program ,Defendantshave falsely told consum ersthatthey could

     sufferadverse consequencesforfuture eligibility forfederalloan forgivenessprogram s. ln m any

     instances,D efendantshave refused orignored requestsforrefundsby consum ers.




                                                  12
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 13 of 24




                         Defendants'False Prom isesto Provide CreditRepair

                   ln m any instances,D efendantshave also m ade false prom isesthatconsum ers'

     creditw ould be im proved asa resultoftheirprogram .

            38.    One ofD efendants'w ebsites,w w.strategiccreditsolution.com ,states:EûW ealso

     offera unique,Iegaland fastway to increaseyourFICO Score.''

            39.    AnotherofDefendants'websites,w ww .creditReliefCenters.com ,states: ttW e

     only hireprofessionalsw ith the highestlevelofexperiencein the creditindustry,specifically in

     CreditRepairareas.Thisallow susto fulfillourcom m itm entofquality service and to over-

     deliverto ourclients,every tim e,every case. Foryears,we have assisted thousands of

     consum ersto notonly repairordelete erroneousinform ation from theircreditreports,butalso to

     rebuild theircredit,providing legalaltem ativesto increase theirFICO scores.''

            40.    ln som e instances,Defendants'telem arketershave also offered creditrepair

     servicesto consum ers on initialsalescalls. A dditionally,Defendants'contractstypically state

     thatthe consum ers'm onthly paym entsw ere for,am ong otherthings,é:creditrepairFees.''

                   Echoing Defendants'websites,D efendants'contractsw ith consum erstypically

     prom ise creditrepair servicesthatwould tsim prove client'sFlco/creditscoresand credit

     history.''

            42.    ln m any instances,Defendantshave failed to providecreditrepairservicesor

     im prove consum ers'creditscoresand credithistory.




                                                   13
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 14 of 24




          Defendants'A dditionalU nlawfulPracticesO nce Consum ersSign Up for Services

                    Defendantshavecharged consum ersinitialand m onthly feesforpurported debt

     reliefservicesbefore achieving any results,and,in m any instances,have failed to achieve any

     results on behalfofthe consum er.

            44.     Defendantshave also charged these advance feesbefore any creditrepairservices

     had been performed.Defendants'advancefeeshavetypicallybeen in therangeof$599to

     $1,200fortheinitialfee,with a$49.99recurringm onthly fee,foraslong as36 months.
                                               THE FTC A CT

            45.     Section5(a)oftheFTC Act,l5U.S.C.j45(a),prohibitsitunfairordeceptiveacts
     orpracticesin oraffecting com m erce.''

            46.     M isrepresentationsordeceptive om issionsofm aterialfactconstitute deceptive

     actsorpracticesprohibitedbySection5(a)oftheFTC Act.
                                  VIO LA TIO NS O F TH E FTC AC T

                                                CountI
                                 Deceptive D ebtReliefR epresentations

                    In num erous instances,in connection with the advertising,m arketing,prom otion,

     offering forsale,orsaleofdebtreliefservices,Defendantshaverepresented,directly or

     indirectly,expressly orby im plication that:

                   a. Defendantsgenerally w illenrollconsum ersin studentloan forgivenessor

                       otherprogram sthatwould lowertheirpaym entsorbalances;

                   b. consum ers'm onthly paymentsto Defendantsgenerally willbe applied to pay

                       offthe consum ers'loans;




                                                    14
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 15 of 24




                    c. consum ers'studentloan debtgenerally w illbe forgiven in three yearsorless

                       afterpaym entofinitialfees;and

                    d. ifa consum ercancelshisorherenrollm entin a federalstudentloan

                       forgivenessprogram ,itisvery difficultorim possible to re-enteranother

                       forgivenessprogram .

            48.     ln truth and in fact,in num erousinstancesin which D efendantshave m ade the

     representationssetforth in Paragraph 47 ofthisCom plaint,such representationsw ere false or

     notsubstantiated atthe tim eD efendantsm ade them .

            49.     Therefore,Defendants'representationsassetforth in Paragraph 47 ofthis

     Com plaintare false orm isleading and constittzte deceptive actsorpractices in violation of

     Section5(a)oftheFTC Act,15U.S.C.j45(a).
                                              Count11
                               Deceptive CreditR epair R epresentations

                   In num erousinstances,in connection with the advertising,m arketing,prom otion,

     offering for sale,orsale ofcreditrepairservices,D efendantshaverepresented,directly or

     indirectly,expressly orby im plication,thatconsum ers'creditgenerally willbe im proved asa

     resultofDefendants'program .

                   In truth and in fact,in nllm erousinstancesin which Defendantshave m ade the

     representations setforth in Paragraph 50 ofthisCom plaint,such representations were false or

     notsubstantiated atthe tim e D efendantsm ade them .

                   Therefore,them aking oftherepresentations assetforth in Paragraph 50 ofthis

    ComplaintconstitutesadeceptiveactorpracticeinviolationofSection5(a)oftheFTC Act,15
    U.S.C.j45(a).

                                                    15
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 16 of 24




                              TH E TELEM A RK ETING SA LES RULE

                   Congressdirected the FTC to prescribe nzlesprohibiting abusive and deceptive

     telemarketing actsorpracticespursuanttotheTelemarketing Act,15 U.S.C.jj6101-6108.The
     FTC adopted theoriginalTSR in 1995,extensively amended itin 2003,and amended certain

     provisionsthereafter. 16 C.F.R.Part310.

            54. Defendantsareçisellerlsl''ortttelemarketergsl''engagedinûdtelemarketing''as
     definedbytheTSR,16C.F.R.j310.2(dd),(ft),and(gg).A ûûseller''meansanypersonwho,in
     connection w ith atelem arketing transaction,provides,offersto provide,orarranges forothersto

    providegoodsorservicesto acustomerin exchangeforconsideration. 16C.F.R.j 310.2(dd).
     A istelemarketer''meansany person w ho,in connection with telem arketing,initiatesorreceives

     telephonecallstoorfrom acustomerordonor.16C.F.R.j310.2(f9.ûdTelemarketing''meansa
    plan,progrnm ,orcam paign which isconducted to inducethe purchaseofgoodsor servicesora

     charitable contribution,by use ofone orm ore telephonesand which involvesm ore than one

     interstatetelephonecall. 16C.F.R.j 310.2(gg).
                   Defendantsare sellersortelem arketersofSûdebtreliefservices''asdefined by the

     TSR,16 C.F.R.j310.2(0).UndertheTSR,atçdebtreliefservice''meansany program orservice
    represented,directly orby im plication,to renegotiate,settle,orin any w ay alterthe tenusof

    paym entorotherterm softhe debtbetw een aperson and one orm oreunsecured creditors,

    including,butnotlim ited to,a reduction in the balance,interestrate,orfeesowed by a person to

    an unsecured creditorordebtcollector. 16 C.F.R.j 310.2(0).
            56.    The TSR prohibits sellersand telem arketersfrom requesting orreceiving paym ent

    ofany fees orconsideration forany debtreliefservice untiland unless'
                                                                       .



                                                  16
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 17 of 24




                   a. The sellerortelem arketerhasrenegotiated,settled,reduced,orotherwise

                      altered the tennsofatleastone debtpursuantto a settlem entagreem ent,debt

                      m anagem entplan,orother such valid contractualagreem entexecuted by the

                      custom er;and

                   b. The custom erhasm ade atleastonepaym entpursuantto thatsettlem ent

                      agreem ent,debtm anagem entplan,orothervalid contractualagreem ent

                      betw een the custom erand thecreditor;and to the extentthatdebtsenrolled in

                      a service are renegotiated,settled,reduced,orotherwise altered individually,

                      the fee orconsideration either'
                                                    .

                          i. Bearsthe sam eproportionalrelationship to the totalfee for

                             renegotiating,settling,reducing,oraltering the term softhe entire debt

                             balance asthe individualdebtam ountbearsto the entire debtam ount.

                             The individualdebtam ountand the entiredebtam ountare those owed

                             atthe tim e the debtwasem-olled in the service;or

                          ii. ls apercentage ofthe am ountsaved as a resultofthe renegotiation,

                             settlem ent,reduction,oralteration. The percentage charged cannot

                             change from one individualdebtto another.The am ountsaved isthe

                             difference betw een the am ountowed atthe tim e the debtwasemolled

                             in the service and the am ountactually paid to satisfy thedebt. l6

                             C.F.R.j310.4(a)(5)(i).
                   The TSR prohibitssellersand telem arketersfrom m isrepresenting directly orby

     implication,any m aterialaspectofany debtreliefservice,including,butnotlim ited to,the
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 18 of 24




     am ountofm oney orthepercentage ofthe debtam ountthata custom erm ay saveby using the

     service.16C.F.R.j310.3(a)(2)(x).
            58.    PursuanttoSection3(c)oftheTelemarketingAct,15U.S.C.j6102(c),and
     Section 18(d)(3)oftheFTC Act,15U.S.C.j57a(d)(3),aviolationoftheTSR constitm esan
     unfairordeceptiveactorpracticeinoraffectingcommerce,inviolationofSection 5(a)ofthe
     FTC Act,15U.S.C.j45(a).
                       VIOLATIONSOF THE TELEM ARKETING SW ES RULE
                                               CountIII
                                 A dvance Fee for DebtR elief Services
                   ln num erous instances,in connection with the telem arketing ofstudentloan debt

     reliefservices,D efendantshaverequested orreceived paym entofa fee orconsideration fordebt

     reliefservicesbefore:

                   a. Defendantshave renegotiated,settled,reduced,orothem ise altered the term s

                        ofatleastone debtpursuantto a settlem entagreem ent,debtm anagem ent

                        plan,orother such valid contractualagreem entexecuted by the custom er;and

                   b. Thecustom erhasm ade atleastonepaym entpursuantto thatsettlem ent

                        agreem ent,debtm anagem entplan,orothervalid contractualagreem ent

                        between the custom erand the creditor.

            60.    Defendants'actsorpractices,asdescribed in Paragraph 59 ofthisCom plaint,are

     abusivetelemarketingactsorpracticesthatviolateSection310.4(a)(5)(i)oftheTSR,16C.F.R.j
     310.4(a)(5)(i).
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 19 of 24




                                               CountIV
                                          M isrepresentations

                   ln num erousinstances,in connection with thetelem arketing ofstudentloan debt

     reliefservices,Defendantshave m isrepresented,directly orindirectly,expressly orby

     im plication,m aterialaspectsoftheirdebtreliefservices,including,butnotlim ited to

                   a. consum ers'm onthly paym entsto Defendantsgenerally willbe applied to pay

                       offtheconsum ers'loans;

                   b. D efendants generally w illemollconsum ersin sttzdentloan forgivenessor

                       otherprogram sthatw ould low ertheirpaym entsorbalances;

                   c. consum ers'studentIoan debtgenerally w illbe forgiven aftertltree yearsor

                       lessonce constunerspay the initialfees forDefendants'services;and

                   d. ifa consum ercancelshisorher em ollm entin a federalstudentloan

                       forgivenessprogram ,itisvery difficultorim possible to re-enteranother

                       forgivenessprogram .

            62.    Defendants'acts and practices,as described in Paragraph 61 ofthis Complaint,

     aredeceptivetelemarketing actsorpracticesthatviolateSection 3l0.3(a)(2)(x)oftheTSR,16
     C.F.R.j3l0.3(a)(2)(x).
                          TH E CR ED IT REPAIR O R GA NIZATIO N S A CT

            63.    The CreditRepairOrganizationsA cttook effecton A pril1,1997,and has

     rem ained in fullforce and effectsince thatdate.

            64.    Defendantsare lkcreditrepairorganizations,''asdefined by the CreditRepair

     OrganizationsA ct:

            (Ajnypersonwhousesanyinstrumentalityofinterstatecommerceorthemailsto
            sell,provide,orperform (orrepresentthatsuchpersoncanorwillsell,provide,or
                                                   19
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 20 of 24




            perform)any service,inrettlrn forthepaymentofmoney orothervaluable
            consideration,forthe express orim plied purpose of...im proving any
            consum er'screditrecord,credithistory,orcreditrating ....
     15U.S.C.j 1679a(3).

            65.    Thepurposesofthe CreditRepairOrganizationsAct,according to Congress,are:

                       (1)toensurethatprospectivebuyersoftheservicesofcreditrepair
                       organizations areprovided w ith the inform ation necessaly to m ake an
                       informeddecisionregardingthepurchaseofsuchservices;and(2)to
                       protectthe public from unfairordeceptive advertising and business
                       practicesby creditrepairorganizations.

     15U.S.C.j l679(b).
            66.    TheCreditRepairOrganizationsActprohibitsallpersons from m aking orusing

     any untrue orm isleading representation ofthe servicesofthe creditrepairorganization. 15

     U.S.C.j1679b(a)(3).
            67.    The CreditRepairOrganizationsActprohibitscreditrepairorganizationsfrom

     charging orreceiving any m oney orothervaluable consideration fortheperform ance ofany

     servicethatthe creditrepairorganization hasagreed to perform before such service is fully

     performed. 15U.S.C.j1679b(b).
            68. Pursuantto Section 410(b)(1)oftheCreditRepairOrganizationsAct,15U.S.C.j
     1679h(b)(1),any violation ofany requirementorprohibition oftheCreditRepairOrganizations
     ActconstitutesanunfairordeceptiveactorpracticeincommerceinviolationofSection 5(a)of
     theFTC Act,15U.S.C.j45(a).PursuanttoSection410(b)(2)oftheCreditRepair
     OrganizationsAct,15U.S.C.j1679h(b)(2),al1functionsandpowersoftheCommissionunder
    the FTC A ctare available to the Com m ission to enforce com pliance with theCreditRepair

    O rganizationsA ctin the sam e m anneras ifthe violation had been a violation ofany Com m ission

    trade regulation rule.
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 21 of 24




                VIO LA TIO N S O F TH E C REDIT R EPAIR O R GA M ZA TIO N S AC T

                                              CountV
                      M isleading RepresentationsaboutC reditR epair Services

            69.    ln num erousinstances,in connection w ith the advertising,m arketing,prom otion,

     offering for sale,orsale ofservicesto consum ersby a creditrepairorganization,asthatterm is.




     definedinSection403(3)oftheCreditRepairOrganizationsAct,15U.S.C.j 1679a(3),
     Defendantshave m ade representations abouttheircreditrepairservices,including,butnot

     lim ited to,the representation thatconsum ers'creditgenerally w illbe im proved asa resultof

     Defendants'program . These representationsare untrue orm isleading because consum ers'credit

     generally isnotim proved asa resultofD efendants'program .

                   DefendantshavetherebyviolatedSection404(a)(3)oftheCreditRepair
     OrganizationsAct.15U.S.C.j1679b(a)(3).
                                              CountVl
                                A dvanceFee for C reditR epair Services

                   In num erousinstances,in colm ection with the operation ofa creditrepair

     organization,asthatterm isdefinedinSection403(3)oftheCreditRepairOrganizationsAct,15
     U.S.C.j1679a(3),Defendantshavechargedorreceivedmoneyorothervaluableconsideration
     forthe perform anceofcreditrepair servicesthatDefendantshave agreed to perform before such

     services were fully perform ed.

            72.    DefendantshavetherebyviolatedSection404(b)oftheCreditRepair
    OrganizationsAct,15U.S.C.j1679b(b).
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 22 of 24




                                              CountV l1
                                           ReliefD efendant

                   ReliefD efendant,D G lnvestm entPropertiesLLC,hasreceived,directly or

     indirectly,fundsorotherassets from Defendantsthatare traceableto fundsobtained from

     D efendants'custom ersthrough the deceptive actsorpracticesdescribed herein.

                   ReliefD efendantisnotabona fidepurchaserwith legaland equitable title to

     Defendants'customers'fundsorotherassets,andReliefDefendantwillbeunjustlyenrichedifit
     isnotrequired to disgorge the fundsorthe valueofthe benefititreceived as aresultof

     Defendants'deceptive actsorpractices.

            75.    By reason ofthe foregoing,ReliefDefendantholdsfundsand assetsin

     constnzctive trustforthe benefitofD efendants'custom ers.

                                        CO N SUM ER INJUR Y

                   Consumershavesufferedandwillcontinuetosuffersubstantialinjuryasaresult
     ofDefendants'violationsoftheFTC A ct,the TSR,and the CROA . ln addition,Defendants

     havebeenunjustlyenrichedasaresultoftheirunlawfulactsorpractices.Absentinjunctive
     reliefbythisCourt,Defendantsarelikelytocontinuetoinjureconsumers,reapunjust
     enrichm ent,and harm the public interest.

                           TH IS CO UR T'S PO W ER TO G RAN T R ELIEF

            77.    Section l3(b)oftheFTC Act,15U.S.C.j53(b),empowersthisCourttogrant
     injunctiveandsuchotherreliefastheCourtmaydeem appropriatetohaltandredressviolations
     ofany provision oflaw enforced by theFTC.The Court,in the exercise ofitsequitable

    jurisdiction,may awardancillaryrelief,includingrescissionorreformationofcontracts,
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 23 of 24




    restitution,therefund ofm oniespaid,and the disgorgem entofill-gotten m onies,to preventand

    rem edy any violation ofany provision oflaw enforced by the FTC.

           78. Section6(b)oftheTelemarketingAct,15U.S.C.j6105(b),andSection410(b)
    oftheCreditRepairOrganizationsAct,15U.S.C.j l679h(b),authorizethisCourttograntsuch
    reliefastheCourtfindsnecessalytoredressinjurytoconsumersresultingfrom Defendants'
    violationsofthe TSR and theCreditRepairOrganizationsA ct,including the rescission or

    reform ation ofcontracts,and the refund ofm oney.

                                       PR AY ER FO R R ELIEF

           W herefore,PlaintiffFTC,pursuanttoSection 13(b)oftheFTC Act,15U.S.C.jj53(b),
    Section6(b)oftheTelemarketingAct,15U.S.C.j6105(b),andSection410(b)oftheCredit
    RepairOrganizationsAct,15U.S.C.jl679h(b),andtheCourt'sownequitablepowers,requests
    thatthe Court:

           A.     AwardPlaintiffsuchpreliminaryinjunctiveandancillaryreliefasmaybe
    necessarytoavertthelikelihoodofconsumerinjurydulingthependencyofthisactionandto
    preselve the possibility ofeffective finalrelief,including butnotlim ited to a temporaly and

    preliminaryinjunction,assetfreeze,appointmentofareceiver,anevidencepreservationorder,
    and expedited discovery.

           B.     EnterapermanentinjunctiontopreventfutureviolationsoftheFTC Act,the
    TSR ,and the CROA by Defendants;

                  AwardsuchreliefastheCourtfmdsnecessarytoredressinjurytoconsumers
    resulting from Defendants'violationsofthe FTC A ct,the TSR,and the CROA ,including butnot




                                                   23
Case 9:17-cv-80619-WPD Document 1 Entered on FLSD Docket 05/15/2017 Page 24 of 24




     lim ited to,rescission orreform ation ofcontracts,restitm ion,the refund ofm oniespaid,and the

     disgorgem entofill-gotten m onies;

            D.     Enteran orderrequiring ReliefDefendantto disgorge a1lfunds and assets,orthe

     value ofthebenefititreceived from thefundsand assets,which are traceableto Defendants'

     deceptive actsorpractices;and

            E.     Aw ard Plaintiffthecosts ofbringing thisaction,asw ellas such otherand

     additionalreliefastheCourtmaydetenninetobejustandproper.
                                                 Respectfully subm itted,

                                                 DAV ID C.SHON KA
                                                 Acting G eneralCounsel
                                                        *            /


     oated:.%/I5/.
                 2nI7
                    '                                       77 t/c          W
                                                 M IYA TAN D ON
                                                 (FloridaSpecialBarNo.A5502005)
                                                 ADA M M .W ESO LOW SK I
                                                 (FloridaSpecialBarNo.A5502173)
                                                N IKH IL SINGHV I
                                                 (FloridaSpecialBarNo.A5502332)
                                                FederalTrade Com m ission
                                                600 Pennsylvania Ave.,NW ,CC-10232
                                                W ashington,DC 20580
                                                (202)326-2351(Tandon)
                                                (202)326-3068(W esolowski)
                                                (202)326-3480(Singhvi)
                                                mtandon@ ftc.gov
                                                awesolowski@ ftc.gov
                                                nsinghvi@ ftc.gov
                                                AttorneysforPlaintiff
                                                FEDERAL TRADE COM M ISSION




                                                   24
